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EXHIBIT A

Case 2:16-cv-03591-MWF-SK Document 16-1 Filed 05/31/16 Page 2of3 Page ID #:141

From: Mary Rusterbolz <Mary.Rusterholz@surveysampling.com>
Date: Tuesday, May 3, 2016

Subject: Odello Resignation Letter

To: Ricky Odello <ricky.odello(@pmail.com>

Ricky,

Attached is your non-compete. ! would encourage you to review and be aware of section 7 which outlines the terms of
the non-solicit for customers, partners, employees.

i know you have spoken to Jim and we have shut down your phone and computer. | would ask that you ship it to Troy at
3300 N Ashton Blvd, Suite 350, Lehi, UT 84043.

We will pay you through Friday so you will receive that pay along with your earned but unused vacation.
| wish you ail the best in the future and please do not hesitate to reach out with any questions or concerns.

Best always,

Mary Rusterholz
Chief Human Resources Officer

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